                                                                            ct-EaK's OFFICE U.S.DIST.COURT
                                                                                    AT ROANOKE,VA
                                                                                          FILED

                                                                                     FE6
                                                                                       ' 2û 2g1S
                       IN Tlv UN ITED STA TES DISTRICT COURT                     JULI ,DUDLEX CLERK
                      FOR TH E W ESTERN DISTRICT OF V IR GIN IA                BY;    .
                                 ROAN OKE D IVISION                                    P    C RK


GARRY V .LON G,
                                                  CivilA ction N o.7:19CV 00171
       Plaintiff,
                                                  M EM OIRA NbUM OPINION
                                                  By:Hon.Glen E.Conrad
NEW RIVER VALLEY COM M UNITY                      SeniorUnited StatesDistrictJtidge
SERVICES PA CT PRO GRAM ,etal.,

       Defendants.


       Garry V.Long,proceeding pro K ,com m enced this action by filing a form com plaint
                                       .




againsttheN ew RiverV alley Com m unity ServicesPA CT Program and thefederalD epartm entof

Hoùsing and Urban Development. The plaintiffhasnotpaid the filing fee butwillbe granted

leave to proceed iq forma pauperisforpurposes ofinitialreview ofvhiscomplaint. Forthe
following reasons, the case will be dismissed without prejudice,pursuant to 28 U.S.C.
j1915(e)(2)(b)(ii).
                                           Backeround

       Long's form com plaint indicates that he seeks to invoke the court's federal question

jurisdiction. SeeCompl.2,Dkt.No.2 (checking theboxforfederalquestionjurisdiction). ln
hisGGstatementofthe claim,''Long liststLe following Gtsubjectmattergsl'':attempted murder;
espipnage'
         ,discrim ination;elder abuse'
                                     ,m alpractice;denialof m edications'
                                                                        ,antipsychotic drugs'
                                                                                            ,

loss of funds from EISSD '''(SSSI''#and Ssstate fuelassistance''checks;persecution;harassm ent;

deceptivefraud;lossof$4,500 car;and disrespectforan elder. Id.3. Long directsthecourtto

seeCçattached copiesoflg-yearstudyofsubjectmatterlsqlisted.'' Id. Thecomplaintincludes
approxim ately 100 pages of handwritten notes and draw ings,w hich are largely indecipherable.




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Long indicatesthatifhe receivesa ltroyalty check,''hew illsend m oney to a variety ofcharities.

=
ld 5.

                                      Standard ofR eview

        Under28U.S.C.j 19l5(e)iwhichgoverns.
                                           Lqformapauperisproceedings,thecourthasa
mandatorydutytoscreen initialfilings. ErilineCo.S.A.v.Johnson,440F.3d648,656-57(4th
Cir.2006). Thecourtmustdismissacasedsatanytime''ifthecourtdeterminesthatthecomplaint
Etfailstostateaclaim onwhichreliefmaybegranted.'' 28U.S.C.j1915(e)(2)(B)(ii).
        Thestandardsforreviewing acomplaintfordismissalunderj 1915(e)(2)(B)(ii)arethe
sam e as those which apply when a defendant m oves fordism issalunderFederalRule of Civil

Procedure 12(b)(6). De'taonta v.Ancelone,330 F.3d 630,633 (4th Cir.2003). Thus,in
review ing a complaintunderthisstatute,the courtmustacceptallw ell-pleaded factualallegations

as true and view the complaint in the lightm ost favorable to the plaintiff. Philips v.PittCty.

M em.Hosp.,572F.3d 176,180(4thCir.2009). Tosurvivedismissalforfailuretostateaclaim,
$6acomplaintm ustcontain sufGcientfacm alm atter,accepted astrue,to çstatea claim forreliefthat

isplausibleonitsface.''' Ashcroftv.Iqbals556U.S.662,678(2009)(quotingBellAtl.Corp.v.
Twomblv,550U.S.544,570(2007:.
                                           Discussion

        Although pro .j..
                        q litigants are held to less stringent standards than attorneys,H aines v.

Kerner,404U.S.519,520(1972),theymustnonethelessEsstatetheirclaimsinanunderstandable
andeftkientmanner,''Stonev.Warfield,184F.R.D.553,555(D.Md.1999). ThecourtisSûnot
obligedtoferretthroughafcqomplaint,searchingforviableclaims.'' Plumhoffv.Cent.Mortg.
Co.,286F.Supp.3d699,702 (17.Md.2017)(internalquotation marksomitted). Instead,the
courtm ay dism iss a com plaintthatis<<so confused,am biguous,vague orotherw ise unintelligible




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that11 truesubstnnce,lfany,lswelldlsguised.'' Salalmddinv.Cuomo,861F.2d40,42(2dC1r.
19884.
       Having'
             reviewedtheplainte scomplaintthecourtconcludesthatitmustbedismissedfor
failm etostateaclnim on which xliefmay bep anted. Even underthem ostllberalcons% ction,

the plaintiT scomplaintfailsto provide Gça shortand plain statement''ofany clnlm againstthe

nnmH defendnnts,asrequiredbyFederalRuleofCivilProcedme8(a)(2). Thecomple tandthe
attachedee bitsarelargelylmlntelliglblèanddonotprovidethecourtorthedefendantsw11 sffair

notice''ofwhattheclnlmsareandtheFoundsuponwhichtheyrest. Twombiv.550U.S.at555
(intemnlquotafonmnrksomitted). Theplaintiœ sconclusoryreferencestosuchtermsorphrages
asdiscrimlnntiop attemptedmm der,denlalofmedications,nnJmalpracticedonotse ceto state

aplausiblecllu'm forrelieftmderfederallaw . Accordlngly,dismlssalisappropriate.

                                       C onclusion

      Forthereuonsstated,thecourtwillgranttheplaintic smotlon forleavetoproceedï
formapauperis. However,thecomplaintwillbe dismissed withoutprejudice,pmsuantto 28
U-s-c.j1915(e)(2)(B)(ii).
       The Clerk isdirectedto send coplesoftllismemorandum opinion and the accompanying

orderto theplaino .

       DATSD;w s .*M        day ofFebnurs 2019.


                                                             l

                                            SeniorUnltedStatesDistdctJudge




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